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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )              8:09CR48
                                                   )
       vs.                                         )               ORDER
                                                   )
ROY LENOS-PAZ,                                     )
                                                   )
                      Defendant.                   )


       This matter is before the court on the motion to declare case complex and to enlarge
time to file pretrial motions (Filing No. 61) and the motion for approval to engage expert
services (Filing No. 62) by defendant Roy Lenos-Paz (Lenos-Paz).
       Previously, the court extended the time to file all pretrial motions for all defendants in
this matter to April 24, 2009 (Filing No. 56). The court has scheduled a Rule 17.1 conference
with all counsel on April 30, 2009 at 2:00 p.m. (Filing No. 64). Any further extension of the
pretrial motion deadline will be explored at the 17.1 conference. Accordingly, the motion to
enlarge time to file pretrial motions (Filing No. 61) is denied as moot without prejudice.
       Counsel appointed under the Criminal Justice Act may employ expert services in
accordance with 18 U.S.C. § 3006A(e)(2) without prior request if the costs do not exceed
$400. Requests for amounts in excess of $500 may be made ex parte by providing the court
with a CJA Form 20 with the estimated expenses together with a justification for such
expense. Lenos-Paz’s motion (Filing No. 62) is denied as moot without prejudice.
       IT IS SO ORDERED.
       DATED this 22nd day of April, 2009.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
